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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE

MATHIEW LOISEL,                         )
Individually and on behalf of a         )
putative class of similarly situated    )
persons                                 )
                                        )
      Plaintiff                         )
                                        )
vs.                                     )
                                        )
ROBERT CLINTON,                         )
                                        )
RICHARD LIBERTY,                        )
                                        )       Civil No. 1:19-CV-00081-NT
WELLPATH, LLC,                          )
                                        )
MAINE DEPARTMENT OF                     )
CORRECTIONS,                            )
                                        )
RANDALL LIBERTY,                        )
Commissioner of Maine Department        )
of Corrections,                         )
                                        )
And                                     )
                                        )
MATTHEW MAGNUSSON,                      )
Warden of Maine State Prison            )
                                        )
      Defendants                        )

 JOINT MOTION OF THE PARTIES TO REQUEST A STAY OF PROCEEDINGS

      Now come the Plaintiff, Matthew Loisel, and the Defendants, Robert Clinton,

MD, Richard Liberty, NP, and Wellpath, LLC, and the Maine Department of

Corrections, Randall Liberty and Matthew Magnusson, by and through undersigned

counsel, who jointly move with consent of the parties, pursuant to Rule 16 of the

Federal Rules of Civil Procedure, for a stay of the proceedings.



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      On February 21, 2019, Plaintiff filed a complaint against Robert Clinton and

Richard Liberty in the above-captioned action. On June 26, 2019, Plaintiff Loisel

filed an amended complaint asserting claims against the remaining Defendants,

including the Maine Department of Corrections and their contracted medical

provider, Wellpath, arising under 42 U.S.C. § 1983, and the Americans with

Disabilities Act (“ADA”), 42 U.S.C. § 12131 et seq., on behalf of himself and a putative

class of inmates diagnosed with the chronic Hepatitis C Virus (“HCV”). (Docket # 26.)

The amended complaint concerned the treatment of patients with chronic Hepatitis

C, including the Plaintiff, who were in the custody of the Maine Department of

Corrections.

      Following the filing of Mr. Loisel’s amended complaint, the Parties

participated in a Judicial Settlement Conference with the Court. At the close of the

settlement conference, held on November 21, 2019, the Parties reached a tentative

agreement.

      Since that conference in November 2019, the Parties have continued to confer

and work together, and have reached an interim agreement that eliminates the need

for further litigation in this action at this time. That interim agreement contains

certain contingencies that will take time to fully implement, and, as a result, a stay

of these proceedings is needed in order to effectuate the terms of the agreement.

      Pending execution of the interim agreement, the Parties request a stay of the

present action. The Parties anticipate that when the contingencies in the agreement

are satisfied, the interim agreement will remain operative through approximately



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late October 2021, a term of 16 months. At that time, the Parties expect that this

matter will be resolved and a final stipulation of dismissal will be filed with the Court.

      “The District Court has broad discretion to stay proceedings as an incident to

its power to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706, 117 S.Ct.

1636, 137 L.Ed. 2d 945 (1997). Here, the Parties move jointly to request this stay,

which will allow them sufficient time to fully resolve the pending litigation in the

most expeditious manner possible, and in a manner that does not tax the limited

resources of the Court.

      Wherefore, the Parties request the entry of a stay of proceedings through

October 31, 2021, or until such time as any one of the Parties move to lift the stay in

accordance with the interim agreement before that date.

      Dated at Portland, Maine this 24th day of July, 2020.

                                                       /s/ Benjamin J. Wahrer
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                                                       Elizabeth K. Peck, Esq.
                                                       Benjamin J. Wahrer
                                                       Attorneys for Defendants
                                                       Robert Clinton, MD, Richard
                                                       Liberty, N.P. and Wellpath,
                                                       LLC


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                                               Matthew Magnusson

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                            CERTIFICATE OF SERVICE



       I, Benjamin J. Wahrer, hereby certify that on July 24, 2020, I electronically

filed the foregoing Joint Motion of the Parties for a Stay of Proceedings with the Clerk

of Court using the CM/ECF system which will send notification of such filings(s) to

all parties of record.




                                               /s/ Benjamin J. Wahrer
                                               Benjamin J. Wahrer, Esq.
                                               Attorney for Defendants
                                               Robert Clinton, M.D., Richard
                                               Liberty, N.P. and Wellpath, LLC



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